FILED o& SEALED

 

   

    

6/9/2021
UNITED STATES DISTRICT COURT
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ree VERBATETCOUR NORTHERN DISTRICT OF ILLINOIS
ye EASTERN DIVISION
AD oN . . J
oe >" UNITED STATES OF AMERICA \ ~AV38
Case No. 1:24-CR-00371
Vv.
—_—— _ Violations: Title 18, United States
VIVIANNA LOPEZ, Code, Sections 1956(a)(1)(B) (i), 1957,
.--—also known as “Mia Flores,” and 1956(h)
VALERIE GAYTAN, :
also known as “Olivia Flores,” UNDER SEAL
ARMANDO FLORES,
LAURA LOPEZ, and JUDGE SHAH
BIANCA FINNIGAN MAGISTRATE JUDGE FINNEGAN

 

COUNT ONE
The SPECIAL APRIL 2021 GRAND JURY charges:
1. At times material to this indictment:
a. Individual A and Individual B were brothers who, prior to
December 2008, were involved in the importation of controlled substances from
Mexico into the United States, and the distribution of controlled substances in
Chicago, Illinois, and elsewhere, which drug trafficking activity generated hundreds
of millions of dollars of cash drug proceeds. In approximately December 2008,
Individual A and Individual B surrendered to the custody of the United States
government.
b. VIVIANNA LOPEZ was a resident of State A and the wife of
Individual A.
C. VALERIE GAYTAN was a resident of State B and the wife of

Individual B.

 
d. ARMANDO FLORES was a resident of Texas and the brother of
Individual A and Individual B.

e, LAURA LOPEZ was a resident of [Illinois and the aunt of
VIVIANNA LOPEZ and BIANCA FINNIGAN.

f. BIANCA FINNIGAN was a resident of Illinois and the sister of
VIVIANNA LOPEZ.

2. Beginning no later than in or about December 2008, and continuing

until at least on or about March 11, 2020, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

VIVIANNA LOPEZ,
also known as “Mia Flores,”
VALERIE GAYTAN,
also known. as “Olivia Flores,”

ARMANDO FLORES,

LAURA LOPEZ, and

BIANCA FINNIGAN,
defendants herein, did conspire with each other, and others known and unknown to
the Grand Jury, to commit an offense in violation of Title 18, United States Code,
Sections 1956. and 1957, that is, (1) to knowingly conduct and attempt to conduct a
financial transaction affecting interstate commerce, which involved the proceeds of a
specified unlawful activity, that is the felonious buying and selling and otherwise
dealing in a controlled substance, knowing that the transaction was designed in

whole and in part to conceal and disguise the nature, location, source, ownership, and

control, of the proceeds of said specified unlawful activity and that while conducting

 

 
and attempting to conduct such financial transaction knew that the property involved
in the financial transaction represented the proceeds of some form of unlawful
activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)G@); and (2)
to knowingly engage in a monetary transaction in and affecting interstate commerce
in criminally derived property of a value greater than $10,000, such property having
been derived from a specified. unlawful activity, namely, the felonious buying and
selling and otherwise dealing in a controlled substance, in violation of Title 18, United
States Code, Section 1957.

3, It was part of the conspiracy that, after the surrender of Individual A
and Individual B to the United States government in or about December 2008,
VIVIANNA LOPEZ, VALERIE GAYTAN, ARMANDO FLORES, LAURA LOPEZ,
BIANCA FINNIGAN, and others agreed to and did maintain, and cause to be
maintained, drug proceeds at multiple locations to be used, and used, for their own
benefit and the benefit of Individual A, Individual B, and Individual A and B’s family
_ members and associates.

4, It was further part of the conspiracy that LAURA LOPEZ stored a
portion of the drug proceeds at her residence in Chicago, Illinois, and disbursed the
drug proceeds for the benefit of VIVIANNA LOPEZ, Individual A, and Individual A’s
family members and associates.

5. It was further part of the conspiracy that ARMANDO FLORES stored

drug proceeds at his residence in Round Rock, Texas, and disbursed the drug proceeds

 
for the benefit of VALERIE GAYTAN, Individual B, and Individual B’s family
members and associates,

6. It was further part of the conspiracy that, in order to disburse the drug
proceeds, VIVIANNA LOPEZ, VALERIE GAYTAN, ARMANDO FLORES, LAURA
LOPEZ, and BIANCA FINNIGAN conducted, and caused to be conducted, financial
transactions that defendants knew were designed in whole and in part to conceal and
disguise the nature, location, source, ownership, and control of the cash drug
proceeds, including:

a. VIVIANNA LOPEZ, VALERIE GAYTAN, LAURA LOPEZ, and
ARMANDO FLORES transferred, and caused to be transferred, cash drug proceeds
by U.S. Priority Express mail;

b. VIVIANNA LOPEZ and LAURA LOPEZ purchased, and caused
to be purchased, using cash drug proceeds, money orders and gift cards, which they
later transferred and negotiated, and caused to be transferred and negotiated;

C. VIVIANNA LOPEZ, VALERIE GAYTAN, ARMANDO FLORES,
and LAURA LOPEZ purchased, and caused to be purchased, air travel and
accommodations with drug proceeds and through travel agencies;

d. VALERIE GAYTAN and ARMANDO FLORES exchanged, and
caused to be exchanged, older, lower denomination cash drug proceeds for newer,

higher denomination U.S. currency through a currency exchange;

 
e. VIVIANNA LOPEZ, LAURA LOPEZ, and BIANCA FINNIGAN
purchased, and caused to be purchased, goods and services using a credit card held
in the name of Individual C, with the balance due on that credit card paid down, and
intended to be paid down, using drug proceeds that had been transferred to BIANCA
FINNIGAN and deposited into BIANCA FINNIGAN’s bank accounts; and

f. VIVIANNA LOPEZ and LAURA LOPEZ purchased, and caused
to be purchased, goods and services using a credit card held in the name of
VIVIANNA LOPEZ, with the balance on that credit card paid down using drug
proceeds that had been deposited into LAURA LOPEZ’s bank account.

7. It was further part of the conspiracy that VIVIANNA LOPEZ, VALERIE
GAYTAN, ARMANDO FLORES, LAURA LOPEZ, and BIANCA FINNIGAN, by
knowingly conducting, and causing to be conducted, financial transactions designed
in whole and in part to conceal and disguise the nature, location, source, ownership,
and control of the drug proceeds, disbursed, and caused to be disbursed, drug proceeds
to VIVIANNA LOPEZ, VALERIE GAYTAN, Individual A, Individual B, and
Individual A and B’s family members and associates, for their use and benefit,
including:

a. at least a total of approximately $15,500 transferred to
VIVIANNA LOPEZ by U.S. Priority Express Mail on or about September 25, 2019,

October 15, 2019, and January 27, 2020;

 

 
b. at least a total of approximately $39,000 transferred to VALERIE
GAYTAN by U.S. Priority Express Mail on or about September 16, 2019, December
9, 2019, and January 138, 2020;

c. at least approximately $5,000 transferred to the U.S. Bureau of
Prisons for the benefit of Individual A while incarcerated;

d. at least approximately $5,500 transferred to the U.S. Bureau of
Prisons for the benefit of other incarcerated individuals;

e, at least approximately $99,780.98 paid to travel agencies for the
international and domestic travel of VIVIANNA LOPEZ, VALERIE GAYTAN, and
their family members and associates, including approximately $10,307.43 paid to
Travel Agency A on or about June 11, 2019;

f. at least approximately $165,558.50 paid to private schools
attended. by the children of VIVIANNA LOPEZ, VALERIE GAYTAN, Individual A,
and Individual B;

g, at least approximately $11,000 paid as child support for
Individual A’s child;

h. at least approximately $6,000 paid on VIVIANNA LOPEZ’s
student loans;

i. at least approximately $30,099.51 paid for investments and

expenses for VIVIANNA LOPEZ’s laundry businesses;

 

 
j. at least approximately $81,700 paid for VIVIANNA LOPEZ’s

residential rent;

k. at least approximately $3,141 paid for an exercise bicycle system
for VIVIANNA LOPEZ;
1. at least approximately $438,831.43 paid on credit card balances for

VIVIANNA LOPEZ; and
m. at least approximately $10,882.69 paid on a vehicle loan for
VIVIANNA LOPEZ.

All in violation of Title 18, United States Code, Section 1956(h).

 

 
COUNT TWO
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about May 15, 2019, at Chicago, in the Northern District of Ulinois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,

also known as “Mia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the purchase of a purse for
approximately $1,864 in United States currency, which involved the proceeds of a
specified unlawful activity, that is the felonious buying and selling and otherwise
dealing in a controlled substance, knowing that the transaction was designed in
whole and in part to conceal and disguise the nature, location, source, ownership, and
control, of the proceeds of said specified unlawful activity and that while conducting
and attempting to conduct such financial transaction knew that the property involved
in the financial transaction represented the proceeds of some form of unlawful
activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)G) and 2.

 
COUNT THREE
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about June 11, 2019, at Chicago, in the Northern District of Ulinois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,
also known as “Mia Flores,”
VALERIE GAYTAN,
also known as “Olivia Flores,” and
LAURA LOPEZ,

defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the purchase of airfare for
approximately $10,307.43 in United States currency, which involved the proceeds of
a specified unlawful activity, that is the felonious buying and selling and otherwise
dealing in a controlled substance, knowing that the transaction was designed in
whole and in part to conceal and disguise the nature, location, source, ownership, and
control, of the proceeds of said specified unlawful activity and that while conducting
and attempting to conduct such financial transaction knew that the property involved
in the financial transaction represented the proceeds of some form of unlawful
activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(@ and 2.

 
COUNT FOUR
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about June 11, 2019, at Chicago, in the Northern District of [linois,
Eastern Division, and elsewhere,
VIVIANNA LOPEZ,
also known as “Mia Flores,”
VALERIE GAYTAN,
also known as “Olivia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly engage in a monetary transaction in and affecting
interstate commerce in criminally derived property of a value greater than $10,000,
that is the purchase of airfare for approximately $10,307.43 in United States
Currency, such property having been derived from a specified unlawful activity,
namely, the felonious buying and selling and otherwise dealing in a controlled

substance;

Tn violation of Title 18, United States Code, Sections 1957 and 2.

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COUNT FIVE
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about September 25, 2019, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,
VIVIANNA LOPEZ,
also known as “Mia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the transfer and delivery of
approximately $5,000 in United States currency and a $500 gift card, which involved
the proceeds of a specified unlawful activity, that is the felonious buying and selling
and otherwise dealing in a controlled substance, knowing that the transaction was
designed in whole and in part to conceal and disguise the nature, location, source,
ownership, and control, of the proceeds of said specified unlawful activity and that
while conducting and attempting to conduct such financial transaction knew that the
property involved in the financial transaction represented the proceeds of some form

of unlawful activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)@) and 2.

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COUNT SIX
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about October 15, 2019, at Chicago, in the Northern District of [inois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,

also known as “Mia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the transfer and delivery of
approximately $5,000 in United States currency, which involved the proceeds of a
specified unlawful activity, that is the felonious buying and selling and otherwise
dealing in a controlled substance, knowing that the transaction was designed in
whole and in part to conceal and disguise the nature, location, source, ownership, and
control, of the proceeds of said specified unlawful activity and that while conducting
and attempting to conduct such financial transaction knew that the property involved
in the financial transaction represented the proceeds of some form of unlawful
activity;

In violation of Title 18, United States. Code, Sections 1956(a)(1)(B)(i) and 2.

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COUNT SEVEN
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about January 27, 2020, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,
also known as “Mia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the transfer and delivery of
approximately $5,000 in United States currency, which involved the proceeds of a
specified unlawful activity, that is the felonious buying and selling and otherwise
dealing in a controlled substance, knowing that the transaction was designed in
whole and in part to conceal and disguise the nature, location, source, ownership, and
control, of the proceeds of said specified unlawful activity and that while conducting

and attempting to conduct such financial transaction knew that the property involved

in the financial transaction represented the proceeds of some form of unlawful

 

activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

 

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COUNT EIGHT
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about February 25, 2020, at Chicago, in the Northern District of Hlinois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,
also known as “Mia Flores,” and
LAURA LOPEZ,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the transfer and delivery of
approximately $2,000 in United States currency and $2,546 in money orders, which
involved the proceeds of a specified unlawful activity, that is the felonious buying and
selling and otherwise dealing in a controlled substance, knowing that the transaction
was designed in whole and in part to conceal and disguise the nature, location, source,
ownership, and control, of the proceeds of said specified unlawful activity and that
while conducting and attempting to conduct such financial transaction knew that the
property involved in the financial transaction represented the proceeds of some form

of unlawful activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)G) and 2.

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COUNT NINE
The SPECIAL APRIL 2021 GRAND JURY further charges:
On or about March 6, 2020, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

VIVIANNA LOPEZ,
also known as “Mia Flores,”

LAURA LOPEZ, and

BIANCA FINNIGAN,
defendants herein, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate commerce, namely, the purchase of an exercise
bicycle system for approximately $3,141 in United States currency, which involved
the proceeds of a specified unlawful activity, that is the felonious buying and selling
and otherwise dealing in a controlled substance, knowing that the transaction was
designed in whole and in part to conceal and disguise the nature, location, source,
ownership, and control, of the proceeds of said specified unlawful activity and that
while conducting and attempting to conduct such financial transaction knew that the
property involved in the financial transaction represented the proceeds of some form

of unlawful activity;

In violation of Title 18, United States Code, Sections 1956(a)(1)(B)(i) and 2.

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FORFEITURE ALLEGATION

The SPECIAL APRIL 2021 GRAND JURY further alleges:

1. Upon conviction of an offense in violation of Title 18 United States Code,
Sections 1956 and 1957, as set forth in this Indictment, defendants VIVIANNA
LOPEZ, also known as “Mia Flores,” and VALERIE GAYTAN, also known as “Olivia
Flores,” shall forfeit to the United States of America any property involved in such
offense, and any property traceable to such property, as provided in Title 18, United
States Code, Section 982(a)(1).

2. The property to be forfeited includes, but is not limited to:

a. a personal money judgment in the amount of approximately
$504,858.11.
3. If any of the property described above, as a result of any act or omission

by defendant: cannot be located wpon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond the
jurisdiction of the Court; has been substantially diminished in value; or has been
commingled with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property, as
provided by Title 21, United States Code Section 853(p) and Title 18, United States

Code, Section 982(b)(2).

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Signed by Erika L. Csicsila for the
UNITED STATES ATTORNEY

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A TRUE BILL:

 

FOREPERSON

 
ILND 442 (Rev. 11/16) Arrest Warrant

 

 

UNITED STATES DISTRICT COURT

for the

Northern District of Illinois Eastern Division

)
United States of America ) Case No. 21-CR-371-1

)

v. )

)

Vivianna Lopez )

)

)

)

)

)

BENCH WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring Vivianna Lopez before a United States magistrate judge without
unnecessary delay, who is accused of an offense or violation based on the following document filed with the court:

Indictment [_]Superseding Indictment [_]Information [ |Superseding Information L|Complaint
[_|Probation Violation Petition [_]Supervised Release Violation Petition [ Violation Notice [XJOrder of the Court

This offense is briefly described as follows:

Offense: Money Laundering Title:18 U.S.C: 1956(h)
Money Laundering 18 1956(a)(1)(B)(i)
Controlled Substance - Sell, Distribute, or Dispense 18 1957

THOMAS G. BRUTON, CLERK

Hag Veh

June 10, 2021

 

 

 

(By) DEPUTY CLERK DATE

 
 

ILND 442 (Rev. 11/16) Arrest Warrant page 2

 

UNITED STATES DISTRICT COURT

for the
Northern District of Illinois

Case No.21-CR-317

 

Return

 

This warrant was received on (date) , the person was arrested on (date)

at (city and state)

 

Date:

 

Arresting officer’s signature

 

Printed name and title

 

 

 
